              Case:19-01896-ESL12 Doc#:148-2 Filed:04/23/20 Entered:04/23/20 11:40:00 Desc:
Label Matrix for local noticing          CRIM Creditors List of Creditors Page 1FEDERACION
                            List of 20 Largest                                    of 2 DE ASOCIACIONES PECUARIAS DE PR I
0104-3                                     PO BOX 195387                             O’NEILL & GILMORE
Case 19-01896-ESL12                        SAN JUAN, PR 00919-5387                   252 PONCE DE LEON AVE
District of Puerto Rico                                                              SUITE 1701
Old San Juan                                                                         SAN JUAN, PR 00918-2019
Thu Apr 23 11:38:56 AST 2020
PAN AMERICAN GRAIN CO INC                  Triangle Cayman Asset Company, LLC        VAQUERIA TRES MONJITAS INC
PARQUE INDUSTRIAL AMELIA                   250 Ave Munoz Rivera                      PO BOX 366757
9 CLAUDIA ST                               Suite 800                                 SAN JUAN, PR 00936-6757
GUAYNABO, PR 00968-8005                    San Juan, PR 00918-1813


US Bankruptcy Court District of P.R.       CAPITAL CROSSING PR LLC                   DEPARTMENT OF TREASURY
Jose V Toledo Fed Bldg & US Courthouse     FBO TRIANGLE CAYMAN ASSET CO              BANKRUPTCY SECTION 424 B
300 Recinto Sur Street, Room 109           PO BOX 70111                              PO BOX 9024140
San Juan, PR 00901-1964                    SAN JUAN PR 00936-8111                    SAN JUAN, PR 00902-4140


ELA DEPT OF TREASURY                       FEDERACION ASOC PECUARIAS DE PR INC       HATICOOP
BANKRUPTCY DIV #424 B                      PO BOX 2635                               PO BOX 95
PO BOX 9024140                             MAYAGUEZ PR 00681-2635                    HATILLO, PR 00659-0095
SAN JUAN PR 00902-4140


IRS                                        IVAN CABAN SOTO, ESQ                      JORGE   ORLANDO AMADOR DELGADO
PO BOX 7346                                PO BOX 2122                               DIANA   ESTHER CAJIGA RIOS
PHILADELPHIA PA 19101-7346                 MOCA PR 00676-2122                        HC 04   BOX 17351
                                                                                     CAMUY   PR 00627-7616


JOSE L ACEVEDO PEREZ                       LUCY ROMAN                                LUIS CRUZ VELEZ ESQ
BOX 1147                                   SR #2 RR 493 KM 1.0 INT DERECHA           PO BOX 427
MOCA PR 00676-1147                         BARRIO CARRIZALES                         HATILLO PR 00659-0427
                                           HATILLO PR 00659


MIGUEL ROMAN                               O’NEILL & BORGES LLC                      PAN AMERICAN GRAIN CO INC
SR #2 RR 493 KM 1.0 INT DERECHA            250 MUNOZ RIVERA AVE STE 800              9 CALLE CLAUDIA ESQ BEATRIZ
BARRIO CARRIZALES                          SAN JUAN PR 00918-1813                    PARQUE INDUST AMELIA
HATILLO PR 00659                                                                     GUAYNABO PR 00968-8005


Puerto Rico Department of Labor            TRIANGLE CAYMAN ASSET CO                  Triangle Cayman Asset Company, LLC
Collection Unit - 12th Floor               221 PONCE DE LEON STE 1204                C/o Capital Crossing Puerto Rico, LLC
PO Box 195540                              SAN JUAN PR 00917-1806                    221 Ponce de Leon Ave. Suite 1204
San Juan PR 00919-5540                                                               San Juan, P.R. 00917-1806


DIANA CAJIGAS RIOS                         GLORIA BATISTA MOLINA                     HOMEL MERCADO JUSTINIANO
HC 04 BOX 17351                            HC 01 BOX 8076                            8 CALLE RAMIREZ SILVA
CAMUY, PR 00627-7616                       HATILLO, PR 00659-7361                    ENSANCHE MARTINEZ
                                                                                     MAYAGUEZ, PR 00680


JORGE ORLANDO AMADOR DELGADO               JOSE RAMON CARRION MORALES                JUAN JOSE PERAZA MORA
HC 04 BOX 17351                            PO BOX 9023884                            HC 01 BOX 8076
CAMUY, PR 00627-7616                       SAN JUAN, PR 00902-3884                   HATILLO, PR 00659-7361
              Case:19-01896-ESL12 Doc#:148-2 Filed:04/23/20 Entered:04/23/20 11:40:00                                          Desc:
MONSITA LECAROZ ARRIBAS     List of 20 Largest Creditors List of Creditors Page 2 of 2
OFFICE OF THE US TRUSTEE (UST)
OCHOA BUILDING
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SAN JUAN, PR 00901




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)19-1896                                           (d)CRIM                                              (u)JUAN JOSE PERAZA MORA AND GLORIA BATISTA M
                                                     PO BOX 195387
                                                     SAN JUAN PR 00919-5387



(u)Lyssette A Morales                                End of Label Matrix
                                                     Mailable recipients      30
                                                     Bypassed recipients       4
                                                     Total                    34
